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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §      CASE NO. 9:11-CR-33(10)
                                                  §
 MANDY NICOLE SLOMBA                              §

                            MEMORANDUM ORDER
               ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                         ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Doc. #289]. The magistrate judge recommended that

 the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count 37 of the charging

 Indictment filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea [Doc. #289] of the United States

 Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after

 review of the presentence report.

        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Mandy Nicole Slomba, is hereby



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 adjudged as guilty on Count 37 of the charging Indictment charging violations of Title 21, United

 States Code, Section 841(c)(2).


         So ORDERED and SIGNED this 8 day of January, 2012.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge




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